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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                               ROME DIVISION

      MELANIE HOGAN SLUDER and                      §
      RICKY SHAWN CURTIS, Individually              §
      and as Independent Administrators of          §
      the ESTATE OF ALEXIS MARIE                    §
      SLUDER, Deceased,                             §
                                                    §
             Plaintiffs,                            §
                                                    §
       v.                                           §     Civil Action File No.
                                                    §     4:24-CV-00181-WMR
      MAVEIS BROOKS et al.                          §
                                                    §
             Defendants.                            §


DEFENDANT MAVEIS BROOKS MOTION TO STAY DISCOVERY AND
                  BRIEF IN SUPPORT



      COMES NOW, Defendant Maveis Brooks with her Partial Motion to Stay

Discovery and Brief in Support.


   I. Introduction

    Defendant Maveis Brooks moves to stay discovery pending the resolution of

her related criminal prosecution in the Superior Court of Whitfield County,

Georgia. Brooks seeks to stay all discovery requiring her sworn testimony,

including depositions and additional written discovery, until the criminal


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proceedings are resolved. Defendant Phillips, who has been indicted for the same

offenses as Brooks, was granted a partial stay in February 2025. [Doc. 72]. Brooks

now moves for identical relief. This motion is necessary to protect Brooks’ Fifth

Amendment rights against self-incrimination and to ensure the fair administration

of justice.


    II. Background

     This case arises from the death of Alexis Sluder on August 27, 2022, a 16-

year-old detainee at the Elbert Shaw Regional Youth Detention Center (RYDC).

Plaintiffs allege that Sluder died from a drug overdose after ingesting

methamphetamine before her arrest and that Defendant Brooks, along with other

defendants, failed to provide necessary medical care during her detention. The

following allegations are drawn from Plaintiffs Complaint:1

       Sluder was arrested on August 26, 2022, for possession of

methamphetamine and other offenses. She was transported to the RYDC, where

she underwent medical and mental health screenings. During intake, Plaintiffs

contend that Sluder disclosed that she had ingested methamphetamine and other

substances earlier that day and expressed suicidal ideation. [Compl., Doc. 1 ¶¶ 34-

60].


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  This recounting of the allegations is not an admission or waiver, and Defendant reserves the
right to dispute any allegation in the Complaint.
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      Based on her disclosures and medical risks, Sluder was placed on Level III

observation to be constantly monitored. [Doc. 1 ¶¶ 71-79].

      Plaintiffs allege that Sluder exhibited clear signs of a medical emergency.

Despite being aware of her symptoms, Plaintiffs assert that Defendants failed to

take reasonable measures to address her condition. [Doc. 1 ¶¶ 80-97].

      Sluder died that night, with the cause of death determined to be

methamphetamine toxicity. Plaintiffs allege that Brooks acted with deliberate

indifference to Sluder’s medical needs, violating her Fourteenth Amendment rights

under 42 U.S.C. 1983. [Doc. 1 ¶¶ 176-193].

      In August 2023, Brooks and other defendants were indicted for cruelty to

children in connection with Sluder’s death in the Superior Court of Whitfield

County. Brooks is now being criminally prosecuted. [Doc. 1 ¶¶ 137-150].

O.C.G.A. § 16-5-70 allows for penalties and imprisonment of up to 20 years if

Brooks is convicted, with a mandatory minimum of sentence of 5 years.


 III. Procedural Posture

      Plaintiffs sued Defendants on July 23, 2024. [See, Doc. 1]. Defendants, save

Brooks, were served with process in August 2024. Brooks was served several

months later. [Doc. 47]. On February 10, 2025, Phillips, who faces charges

identical to Brooks, was granted a partial stay. [Doc. 72]. Brooks, like Phillips, has

responded to written discovery, but depositions have not been taken.
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      Discovery in this case will expressly implicate Brooks’ Fifth Amendment

rights in the criminal prosecution. And to preserve her constitutional rights and

relieve her from the prejudice associated with providing sworn testimony during

the pendency of her criminal case, she requests a partial stay of discovery.


 IV. Argument And Citation To Authority

      A. Legal Standard for Granting a Stay of Discovery
    A district court has broad discretion to stay proceedings in furtherance of its

inherent power to control its docket and when it serves the interests of justice. N.

Illinois Gas Co. v. USIC, LLC, 2023 U.S. App. LEXIS 9134, 2023 WL 2977784

(11th Cir. Apr. 18, 2023). District courts in the Eleventh Circuit have considered

several factors when determining whether to stay discovery where there are

parallel criminal proceedings, including:

    1. The extent to which the issues in the criminal and civil cases overlap;
    2. The extent to which the Defendant’s Fifth Amendment rights are implicated;
    3. The interests of the plaintiff in proceeding expeditiously weighed against the
      prejudice to the plaintiff caused by the delay;
    4. The burden on the defendant;
    5. The status of the criminal case, including whether the defendant has been
      indicted;
    6. The efficient use of judicial resources; and
    7. The public interest.



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S.W. v. Clayton Cnty. Pub. Sch., 185 F. Supp. 3d 1366, 1371-72 (N.D. Ga. May 12,

2016).


      B. Application of Factors


    1. Overlap of Issues in the Civil and Criminal Cases

      The issues in the criminal and civil cases overlap entirely, as both arise from

the same incident and involve allegations that Brooks failed to respond to Sluder’s

medical emergency. "[T]he similarity of issues in the underlying civil and criminal

actions is considered the most important threshold issue in determining whether to

grant a stay." Clayton Cnty. Sch. at 1372; see also, Doc. 72 at 3. This critical factor

weighs heavily in favor of a partial stay.


    2. The Implication of Brooks’ Fifth Amendment Rights

      The Fifth Amendment permits a person not to answer questions in a civil

proceeding when those answers might incriminate her in a criminal proceeding.

Erwin v. Price, 778 F.2d 668, 669 (11th Cir. 1985). The Fifth Amendment is

violated when a defendant in a civil case is forced to choose between waiving her

Fifth Amendment privilege or facing an adverse judgment in the civil case. United

States v. Premises Located at Route 13, 946 F.2d 749, 756 (11th Cir. 1991). Yet

the Fifth Amendment does not forbid the jury from drawing adverse inferences in



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the civil case based on the defendant’s refusal to testify. Coquina Invs. v. TD Bank,

N.A., 760 F.3d 1300, 1310 (11th Cir. 2014).

      The allegations in the civil suit and in the criminal prosecution involve the

same nucleus of operative facts: her involvement in the alleged failure to provide

medical care to the minor. The discovery in this case, and particularly a deposition,

would— without question— implicate her Fifth Amendment rights. This element

weighs heavily in favor of the stay.


   3. Status of the Criminal Case

      Brooks has been indicted for cruelty to children in connection with the

events of August 2023. It is Brooks’ understanding that the criminal trial will occur

soon. [See, e.g., Doc. 19-2 at 9 (indicating Brooks would be tried soon and that she

was first on the calendar). The pendency of an active criminal prosecution strongly

supports a stay to protect Brooks’ Fifth Amendment rights.


   4. Plaintiffs Interests and Potential Prejudice

      While Plaintiffs have an interest in proceeding expeditiously, any prejudice

caused by a stay is mitigated by the fact that discovery can proceed against the

other defendants. Brooks has already responded to targeted written discovery. The

criminal case is also expected to resolve soon, making any delay short. In sum, any




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potential prejudice to Plaintiffs would be, at worst, minimal. This factor does not

weigh against a stay.


    5. Burden on Brooks

      Again, discovery in this civil case will focus almost exclusively on the

incident that underpins the criminal charges. It would require her to participate in

discovery while her criminal case is pending and force her to choose between

waiving her Fifth Amendment rights or risking adverse inferences. This burden

strongly supports a stay. And as the Court points out in the Order on Phillips’ stay,

repeatedly invoking the Fifth Amendment to nearly all the questions posed would

squander the parties’ time, resources, and money. [Doc. 72 at 5]. This factor also

weighs in favor of a partial stay.


    6. Interests of the Court and Public

      Although the public has an interest in a prompt resolution of the civil and

criminal cases, those interests are outweighed by Brooks’ constitutional rights

under the Fifth Amendment. The public interest in the fair administration of justice

is an additional consideration that supports a stay, since Brooks would be unable to

testify about what took place in August 2022 or adequately defend herself. This

element heavily favors a partial stay.




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  V. CONCLUSION

    For these reasons, Defendant Maveis Brooks asks the Court to grant her

motion to stay discovery pending the resolution of her criminal case.



    WHEREFORE, Defendant Brooks requests a partial stay of discovery with

respect to her being forced to provide sworn testimony, including additional

written responses or depositions, until the criminal proceeding is resolved.



 Respectfully submitted this 28th day of March 2025.

                                             HENEFELD & GREEN, P.C.

                                             /s/ Noah Green
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                        CERTIFICATE OF SERVICE

      I hereby certify that I have this day, served Defendant Maveis Brooks’

Motion for a Partial Stay of Discovery and Brief in Support via the CM/ECF filing

system.

 This 28th day of March, 2025.
                                            HENEFELD & GREEN, P.C.

                                            /s/ Noah Green
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